Case 5:11-cr-04060-MWB-LTS   Document 89   Filed 10/03/11   Page 1 of 6
Case 5:11-cr-04060-MWB-LTS   Document 89   Filed 10/03/11   Page 2 of 6
Case 5:11-cr-04060-MWB-LTS   Document 89   Filed 10/03/11   Page 3 of 6
Case 5:11-cr-04060-MWB-LTS   Document 89   Filed 10/03/11   Page 4 of 6
Case 5:11-cr-04060-MWB-LTS   Document 89   Filed 10/03/11   Page 5 of 6
Case 5:11-cr-04060-MWB-LTS   Document 89   Filed 10/03/11   Page 6 of 6
